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                             IN THE UNITED STATES DISTRICT COURT                                FEB 1 2 2019
                                  FOR THE DISTRICT OF MARYLAND
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                                                                                               DtSTRICT OF MAHYlANO
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 UNITED STATES OF AMERICA                             *        CRIMINAL       NO.        D6
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                                                      *
          v.                                          *        (Conspiracy to Commit Wire Fraud,
                                                      *        18 U.S.c. S 1349; Forfeiture, 18
 MARINA GELFEN,                                       *        U.S.c. ~ 981(a)(1)(c))
 DAVID GUTMAN, and                                    *
 DMITRY BABICH,                                       *
                                                      *
               Defendants.                            *
                                                      *
                                                      *
                                                ******
                                           INFORMATION

                                            COUNT ONE
                                 (Conspiracy to Commit Wire Fraud)

         The United States Attomey for the District of Maryland charges that:

         At all times relevant to this Information:

                                             Introduction

         I.       MARINA       GEL FEN ('"GELFEN"),             age 55, is a resident of Reisterstown,

Maryland. From 2000 to 2018, GELFEN owned and operated Chesapeake Pawn Brokers, located

at 2012 Pulaski Highway, Edgewood, MD 21040 ("Chesapeake Pawn").

         2. DAVID GUTMAN ("GUTMAN"),                      age 55, is a resident of Baltimore, Maryland.

From 2013 to 2017, GUTMAN worked at Chesapeake Pawn.

         3.       DMITRY       BABICH    ("BABICH"),           age 48, is a resident of Owings Mills,

Maryland. From 2017 to May 2018, BABICH worked at Chesapeake Pawn. From May of2018

to present, BABICH owned and operated Chesapeake Pawn.

         4.       Chesapeake Pawn is a licensed pawn broker engaged in the business of buying,
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selling and trading new and used products and goods.         Chesapeake Pawn's broker license      IS


currently held by, and in the name of, BABICH.

        5.       The Regional Automated Property Information Database (RAPID) is a tool used by

law enforcement to track transactions conducted by pawn brokers in an effort to guard against     the

sale of, and aid in the recovery of, stolen merchandise. All items that are sold to pawn brokers such

as and including Chesapeake Pawn must be entered into the RAPID by the pawn broker "RAPID")

within 24 hours of the purchase date. .

        6.      "Boosters" are individuals who steal merchandise from retailers and resell the

merchandise to third parties such as pawn brokers for less than the amount the merchandise is sold

for in the retail businesses.

                                Background: eBav, PayPal, UPS

        7.      eBay is an American multinational internet consumer-to-consumer         corporation,

headquartered in San Jose, California. eBay manages ebay.com, an online auction and shopping

website in which people and businesses buy and sell a broad variety of goods and services

worldwide. eBay's terms of service clearly prohibit the sale of stolen merchandise. See Stolen

Property Policy, eBay ("Stolen property policy overview: The sale of stolen property violates state,

federal, and international law, and we notify law enforcement of any attempts to sell stolen

property on our site. We also support the investigation and prosecution of sellers who violate this

policy. Make sure your listing follows these guidelines. Ifit doesn't, it may be removed, and you

may be subject to a range of other actions, including limits of your buying and selling privileges

and suspension of your account.")

        8.      Payment for the products are made electronically.      The seller is responsible for

shipping the product to the buyer.    An eBay account is required to sell or buy on eBay. In the

United States, sellers arc required to accept l'ayPal or to have a merchant credit card account. eBay
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has data centers in Utah, Arizona, and Nevada. Information is passed through all of eBay's servers

to fonn a fluid communication between all servers to ensure information and communication

continuity. eBay transactions conducted in Maryland cause wires to travel in interstate commerce.

        9.      PayPal is an international e-commerce business that allows payments and online

money transfers to bc made through thc Internet.       PayPal's services allow account holders to make

financial transactions online by granting the ability to transfer funds electronically        between

individuals and businesses. PayPal operates data centers in Arizona and California.          Payments

processed through PayPal in Maryland cause wires to travel in interstate commerce.

        10.     A transaction   involving eBay with payment processed by PayPal generally

proceeds in six steps: (I) a buyer orders an item from eBay; (2) the buyer enters payment

information; (3) the authorization request is sent to PayPal, and Pay Pal then sends the request of

funds to the financial institution; (4) the financial institution then sends funds to PayPal; (5) funds

are captured by PayPal when the payment is made by the financial institution; and (6) PayPal

informs eBay that the funds have been captured, and releases the seller to ship the item.

        I I.    United Parcel Service (UPS), headquartered in Atlanta, Georgia, is an American

multinational package delivery and supply chain management company that provides definite time

delivery of packages and documents worldwide. Individuals and businesses can maintain an

account with UPS that allows a person or business to access shipping and tracking, obtain

discounted shipping rates and manage the accounts cash flow. In order to sign up for a UPS

account, a business must provide a name, address, email and user ID, and UPS will then assign the

business an account number that is specific and unique to the business.

                                         The Home Depot

        12.     The Home Depot, headquartered in Atlanta, Georgia, is a home improvement

retail store which sells building materials and home improvement products in more than 2,200
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warehouse style stores in the United States, Canada and Mexico. The Home Depot offers more

than one million products for sale in-store and online, to includc products manufactured and sold

exclusively by The Home Depot, such as Makita, Ryobi, and Ridgid brand power tools.

                                                 The Victims

           13.    The act of listing and selling merchandise the seller knows to be stolen defrauds

both eBay, since the sale of knowingly stolen merchandise violates eBay's policy, and also the

consumers who utilize eBay relying on eBay's policies and that the sellers are in compliance

therewith.

                               The Conspiracy    and the Scheme to Defraud

        14.      Beginning in or about November 2015 and continuing until in or about July 2018,

in the District of Maryland and elsewhere, the defendants,

                                            MARINA GELFEN,
                                           DAVID GUTMAN, and
                                            DMITRY BABICH,

knowingly and willfully conspired and agreed together and with others known and unknown to

commit any offense under chapter 63 of Title 18, United States Code, namely: to knowingly and

willfully devise a scheme and artifice to defraud individuals and retail businesses, to include The

Home Depot, and to obtain and attempt to obtain, by means of false and fraudulent pretenses,

representations and promises, money and property from individuals and businesses, and for the

purpose of executing and in furtherance of said scheme, transmitting and causing to be transmitted

by means of wire communications in interstate commerce, certain signs, signals, and sounds, in

violation of 18 U.S.C.     S   1343; and

                           Ohject of the Conspiracy       and Seheme to Defraud

        15.      It was the object of the conspiracy and scheme to defraud for the conspirators to

purchase     merchandise       from "boosters"   knowing     the mcrchandisc   was stolen from retail
                                                      4
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businesses, including The Home Depot.

        16.      It was a further object of the conspIracy      and scheme to defraud for the

coconspirators to sell stolen merchandise on eBay, with payments processed by PayPayl, and then

ship the merchandise via commercial carriers, to include UPS.

                     Manner and Means of the Conspiracv      and Scheme to Defraud

        17.      It was part of the conspiracy and scheme to defraud that GELFEN,    GUTMAN,

BABICH, and others known and unknown, purchased merchandise from individuals known and

unknown which GELFEN,         GUTMAN,       BABICH, and others known and unknown knew was

stolen from retail businesses, to include The Home Depot.

        18.      It was further part of the conspiracy and scheme to defraud that GELFEN,

GUTMAN, BABICH, and others known and unknown paid cash for the stolen merchandise at

prices well below the retail value of the merchandise.   The stolen merchandise included, but was

not limited to, Makita, Milwaukee, Ryobi, Ridgid, and other brand power tools, to include drills,

wrenches, saws and lithium batteries.

        19.     It was further part of the conspiracy and scheme to defraud that GELFEN,

 GUTMAN, BABICH, and others known and unknown listed and caused to be listed the stolen

 merchandise    for sale on eBay, often asking less than the wholesale price for the stolen

 merchandise,    and frequently describing the stolen merchandise as "new," "like new," and

"sealed."

       20.      It was further part of the conspiracy and scheme to defraud that GELFEN,

GUTMAN,        BABICH, and others known and unknown set up and caused to be set up multiple

eBay accounts in their names and the names of family members and other associates in an effort

to avoid detection for the sale of stolen merchandise.

      21.       It was part of the conspiracy and scheme to defraud that GELFEN,     GUTMAN,
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BABICH, and others known and unknown sold and caused to be sold the stolen property via eBay,

with payments processed by PayPal.

         22.          It was part of the conspiracy and scheme to defraud that GELFEN, GUTMAN,

BABICH, and others known and unknown set up and caused to be set up bank accounts in their

names and the names of their family members and associates, which were linked to their PayPal

accounts, for the purpose of receiving money transferred from individuals who purchased

merchandise listed for sale on eBay.

         23.          It was part of the conspiracy and scheme to defraud that GELFEN, GUTMAN,

BABICH, and others known and unknown transferred and caused to be transferred funds for

stolen merchandise listed for sale on eBay to the bank accounts in their names and the names of

their family members and associates.

         24.          Between January 2015 and May 2018, over $1.5 million dollars was received in

the eBay and linked PayPal accounts.          Often, these funds were then transferred between various

bank accounts in the names of GEL FEN, GUTMAN, BABICH, and their family members and

associates.

         25.          It was further part of the conspiracy and scheme to defraud that GELFEN,

GUTMAN, BABICH, and others known and unknown shipped and caused to be shipped the

stolen merchandise from Chesapeake Pawn to purchasers using commercial carriers, including,

but not limited to, the United Parcel Service (UPS).

18 U.S.c.      S   1349

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Date                                               ROBERT K. HUR
                                                   UNITED STATES ATTORNEY




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